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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              LUBBOCK DIVISION          .. ~.,. O"
                                                                                 w"'1 •t,T 20 Pn 1: 07
UNITED STATES OF AMERICA                     §
                                             §                                  DEPUTY CLER:{ ~
                                             §
v.                                           §        CASE NO. 5:21-CR-087-H-BQ-l
                                             §
                                             §
GEORGE JOHN MASLOVAR                         §

                  REPORT AND RECOMMENDATION ON PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

       This case has been referred by the United States district judge to the undersigned

for the taking of a guilty plea. The parties have consented to appear before a United States

magistrate judge for these purposes. This Report and Recommendation on Plea is submitted

to the court under 28 U.S.C. § 636(b)(3).

       The defendant appeared with counsel before the undersigned United States

magistrate judge, who addressed the defendant personally in open court and informed the

defendant of, and determined that the defendant understood, the admonitions contained in

Rule 11 of the Federal Rules of Criminal Procedure.

       The defendant pleaded guilty (under a written plea bargain agreement with the

government) to Count One of the Indictment, charging defendant with a violation of

18 U.S.C. §§ 2252A(a)(5)(B) and 2252A(b)(2), that is, Possession of Child Pornography

Involving a Prepubescent Minor. After examining Defendant under oath the undersigned

magistrate judge finds the following:

       1.    Defendant, upon advice of counsel, has consented orally and in writing
             to enter this guilty plea before a magistrate judge, subject to final
             approval and sentencing by the presiding district judge;
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          2.    Defendant fully understands the nature of the charges (including each
                essential element of the offense(s) charged) and penalties;

          3.    Defendant fully understands the terms of the plea agreement and plea
                agreement supplement;

          4.    Defendant understands all constitutional and statutory rights and wishes
                to waive these rights, including the right to a trial by jury and the right
                to appear before a United States district judge;

          5.    Defendant's plea is made freely and voluntarily;

          6.    Defendant is competent to enter this plea of guilty;

          7.    There is a factual basis for this plea; and

           8.   The ends of justice are served by acceptance of the defendant's plea of
                guilty.

          Although I have conducted these proceedings and recommend acceptance of

    Defendant's plea of guilty, the United States district judge has the power to review my

    actions and possesses final decision-making authority in this proceeding. Thus, if

    Defendant has any objections to these findings or any other action of the undersigned, he

    is required to make those known to the United States district judge within fourteen (14)

    days of today.

          Based on the above, I recommend that Defendant's plea of guilty be accepted, that

    Defendant be adjudged guilty, and that sentence be imposed accordingly.

           Signed October 20, 2021.




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                                                     UNITED TA                     TE JUDGE




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